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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

x
In re: : Chapter 11

AMERICAN HOME MORTGAGE HOLDINGS, INC.,: | Case No. 07-11047 (CSS)

a Delaware corporation, et al.,
Jointly Administered

Debtors.

Objection Deadline: January 5, 2011, 2010 at 4:00 p.m.
(ET)
Hearing Date: January 12, 2011 at 10:00 a.m. (ET)

x

NOTICE OF MOTION

TO: (1) THE UNITED STATES TRUSTEE FOR THE DISTRICT OF DELAWARE; (II)
ALL CLAIMANTS WHOSE CLAIMS HAVE NOT BEEN RESOLVED; (III)
COUNSEL TO THE INDIVIDUAL MOVANTS; (IV) COUNSEL TO BANK OF
AMERICA, N.A., AS ADMINISTRATIVE AGENT FOR THE LENDERS UNDER
THAT CERTAIN SECOND AMENDED AND RESTATED CREDIT AGREEMENT
DATED AUGUST 10, 2006; (V) COUNSEL TO THE AGENT FOR THE DEBTORS’
POSTPETITION LENDER; (VI THE OFFICES OF THE ATTORNEYS GENERAL
OF THE FIFTY STATES AND THE DISTRICT OF COLUMBIA; (VII) THE
FEDERAL TRADE COMMISSION; (VIII) COUNSEL TO AMERICAN HOME
MORTGAGE SERVICING, INC.; (IX) THE SECURITIES AND EXCHANGE
COMMISSION; (X) THE SPV; AND (XI) ALL PARTIES ENTITLED TO NOTICE
UNDER DEL. BANKR. LR 2002-1(b)

PLEASE TAKE NOTICE that Steven D. Sass, as liquidating trustee (the “ Plan
Trustee”) for the Plan Trust established pursuant to the Amended Chapter 11 Plan of Liquidation
of the Debtors Dated as of February 18, 2009 (the “Plan”), has filed the attached Motion for an
Order Pursuant to 11 U.S.C. §§ 105, 363 and 554 Authorizing the Plan Trustee to Return or
Destroy All Hard Copy Loan Files (the “Motion”).

Responses to the Motion, if any, must be filed on or before January 5, 2011 at 4:00 p.m.
(ET) (the “Objection Deadline”) with the United States Bankruptcy Court for the District of
Delaware, 3" Floor, 824 N. Market Street, Wilmington, Delaware 19801.

At the same time, you must also serve a copy of the response upon the undersigned
counsel to the Plan Trustee so that the response is received on or before the Objection Deadline.

A HEARING ON THE MOTION WILL BE HELD ON JANUARY 12, 2011 AT 10:00
A.M. (ET) BEFORE THE HONORABLE CHRISTOPHER S. SONTCHI, UNITED STATES
BANKRUPTCY COURT, 5" FLOOR, 824 N. MARKET STREET, WILMINGTON,
DELAWARE 19801.

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IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED BY THE MOTION WITHOUT FURTHER
NOTICE OR HEARING.

Dated: December 22, 2010 YOUNG, CONAWAY, STARGATT & TAYLOR, LLP
Wilmington, Delaware
/s/ Margaret Whiteman Greecher
Sean M. Beach (No. 4070)
Margaret Whiteman Greecher (No. 4652)
The Brandywine Building
1000 West Street - 17th Floor
P.O. Box 391
Wilmington, Delaware 19899
Telephone: (302) 571-6600
Facsimile: (302) 571-1253

-and-

HAHN & HESSEN LLP
Mark S. Indelicato

Edward L. Schnitzer

488 Madison Avenue

New York, New York 10022
Telephone: (212) 478-7200
Facsimile: (212) 478-7400

Co-Counsel to the Plan Trustee

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